Case 6:19-cv-00059-RWS Document 194 Filed 05/11/21 Page 1 of 5 PageID #: 2890




                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                                TYLER DIVISION


LONE STAR TECHNOLOGICAL             §
INNOVATIONS, LLC                    §
                                    §
V.                                  §     CIVIL NO. 6:19-cv-00059
                                    §
ASUS COMPUTER INTERNATIONAL, §
et al                               §
________________________________________________________________________

                    MINUTES FOR PRETRIAL CONFERENCE
                HELD BEFORE JUDGE ROBERT W. SCHROEDER III
                               MAY 11, 2021

OPEN: 9:08 a.m.                                       ADJOURN: 12:03 p.m.
________________________________________________________________________

ATTORNEYS FOR PLAINTIFF:                  Brad Liddle, John Saba, Joshua Bennett and Monica
                                          Litle

ATTORNEYS FOR DEFENDANTS:                 Vinay Joshi

LAW CLERK:                                Jonathan Powers

COURTROOM DEPUTY:                         Betty Schroeder

COURT REPORTER:                     Kate McAlpine
________________________________________________________________________

9:08 a.m.   Case called; parties introduce themselves and announce ready, Court welcomes
            everyone and gives preliminary comments

9:10 a.m.   Mr. Brad Liddle argues Plaintiff’s Motion to Strike Invalidity Contentions (dkt.
            #128)

9:17 a.m.   Court questions Mr. Liddle; Mr. Liddle responds

9:20 a.m.   Mr. Vinay Joshi responds to argument

9:25 a.m.   Court questions Mr. Joshi; Mr. Joshi responds
Case 6:19-cv-00059-RWS Document 194 Filed 05/11/21 Page 2 of 5 PageID #: 2891




9:28 a.m.    Mr. Liddle replies

9:30 a.m.    Ms. Monica Litle argues Plaintiff’s Motion to Compel (dkt. #169)

9:35 a.m.    Court questions Ms. Litle; Ms. Litle responds

9:39 a.m.    Mr. Joshi responds to argument

9:43 a.m.    Court questions Ms. Joshi; Mr. Joshi responds

9:45 a.m.    Ms. Litle replies

9:46 a.m.    Court advises the parties it has and will allow video conference testimony; Court
             and parties discuss issues contained in Defendant’s Motion to Authorize Video
             Conference Testimony (dkt. #175)

10:00 a.m.   Mr. John Saba argues Plaintiff’s first Motion in Limine (dkt. #178)

10:03 a.m.   Mr. Joshi responds

10:04 a.m.   Court questions Mr. Joshi; Mr. Joshi responds

10:05 a.m.   Mr. Saba argues Plaintiff’s MIL #2

10:06 a.m.   Mr. Joshi responds

10:08 a.m.   Mr. Saba advises that Plaintiff’s MIL #3 is agreed upon

10:09 a.m.   Mr. Saba argues Plaintiff’s MIL #4

10:13 a.m.   Mr. Joshi responds

10:15 a.m.   Court questions Mr. Joshi; Mr. Joshi responds

10:15 a.m.   Mr. Saba replies

10:16 a.m.   Mr. Saba advises that Plaintiff’s MIL #5 is agreed upon

10:17 a.m.   Mr. Saba argues Plaintiff’s MIL #6

10:17 a.m.   Mr. Joshi responds

10:19 a.m    Mr. Saba argues Plaintiff’s MIL #7

10:20 a.m.   Mr. Joshi responds
Case 6:19-cv-00059-RWS Document 194 Filed 05/11/21 Page 3 of 5 PageID #: 2892




10:21 a.m.   Court questions Mr. Joshi; Mr. Joshi responds

10:22 a.m.   Mr. Saba replies

10:23 a.m.   Mr. Saba withdraws Plaintiff’s MIL #8

10:23 a.m.   Mr. Saba argues Plaintiff’s MIL #9

10:24 a.m.   Mr. Joshi responds

10:25 a.m.   Court questions Mr. Joshi; Mr. Joshi responds

10:26 a.m.   Mr. Saba argues Plaintiff’s MIL #10

10:27 a.m.   Mr. Joshi agrees to MIL #10; Court - granted as agreed

10:27 a.m.   Mr. Saba argues Plaintiff’s MILS #11 and 12

10:28 a.m.   Mr. Joshi responds

10:31 a.m.   Mr. Saba replies

10:31 a.m.   Mr. Saba argues Plaintiff’s MIL #13; Mr. Joshi advises this is agreed; Court -
             granted as agreed; Mr. Saba advises that MIL #14 will be resolved by the Motion
             to Strike

10:32 a.m.   Recess

10:50 a.m.   Mr. Joshi argues Defendant’s MIL #1

10:56 a.m.   Court questions Mr. Joshi; Mr. Joshi responds

10:58 a.m.   Mr. Saba responds

11:01 a.m.   Mr. Joshi replies

11:03 a.m.   Mr. Joshi argues Defendant’s MIL #2

11:04 a.m.   Court questions Mr. Joshi; Mr. Joshi responds

11:07 a.m.   Mr. Saba responds

11:07 a.m.   Mr. Joshi replies

11:09 a.m.   Mr. Joshi argues Defendant’s MIL #3
Case 6:19-cv-00059-RWS Document 194 Filed 05/11/21 Page 4 of 5 PageID #: 2893




11:12 a.m.   Court questions Mr. Joshi; Mr. Joshi responds

11:17 a.m.   Mr. Saba responds

11:18 a.m.   Mr. Joshi advises that he will withdraw Defendant’s MIL #4

11:18 a.m.   Mr. Joshi argues Defendant’s MIL #5

11:21 a.m.   Mr. Saba responds

11:23 a.m.   Court questions Mr. Saba; Mr. Saba responds

11:24 a.m.   Mr. Joshi replies

11:25 a.m.   Mr. Joshi argues Defendant’s MIL #6

11:26 a.m.   Mr. Saba responds

11:26 a.m.   Mr. Joshi replies

11:26 a.m.   Mr. Joshi argues Defendant’s MIL #7

11:28 a.m.   Mr. Saba responds

11:29 a.m.   Mr. Joshi replies

11:29 a.m.   Mr. Joshi argues Defendant’s MIL #8

11:30 a.m.   Mr. Saba responds

11:31 a.m.   Mr. Joshi advises that Defendant’s MILS #9 and 10 are agreed upon; Court -
             granted as agreed

11:33 a.m.   Court questions the parties regarding the objections to deposition designations;
             Mr. Bennett responds

11:34 a.m.   Mr. Bennett questions the Court regarding juror notebooks; parties are to supply
             the Court with a notebook by close of business on Thursday

11:36 a.m.   Mr. Joshi advises definitions will be provided in the notebooks; Mr. Joshi objects
             to Plaintiff’s Exhibit #26

11:37 a.m.   Mr. Saba responds to the objection

11:38 a.m.   Court questions Mr. Saba; Mr. Saba responds; Court instructs the parties to try
Case 6:19-cv-00059-RWS Document 194 Filed 05/11/21 Page 5 of 5 PageID #: 2894




             and work it out

11:39 a.m.   Mr. Joshi replies

11:41 a.m.   Mr. Bennett objects to actual monitor being submitted to the jury; Court responds

11:42 a.m.   Mr. Bennett questions the Court regarding size of panel; Court responds

11:43 a.m.   Court advises that the parties will have 30 minutes for voir dire and opening
             statements and 30-45 minutes for closing arguments; Court questions the parties
             regarding11 hours per side for trial; Mr. Bennett responds; parties will be allowed
             12 hours per side; Court discusses trial schedule - trial will start at 9:00 and end
             around 5:00 (depending on witness) with two breaks and a lunch break; there will
             be no sidebars

11:53 a.m.   Mr. Bennett questions the Court regarding sealing the courtroom; Court responds;
             Mr. Joshi responds

11:55 a.m.   Court instructs the parties that because the courtroom will be reconfigured due to
             COVID they will have to remain at the podium in order to get a clear record;
             Court and parties discuss calling of witnesses

12:03 p.m.   Recess
